Van−002 [Notice of Hearing] (Rev. 05/14)

                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION


In re:                                                                            Case No. 19−80272−TOM11
John Stoddart                                                                     Chapter 11
SSN: xxx−xx−7747
Helen Powell−Stoddart
SSN: xxx−xx−0479
         Debtor(s)

                                              NOTICE OF HEARING
       Notice is hereby given that a hearing will be held to consider and act upon the following:

       44 − Bankruptcy Administrator's Motion for an Order Setting Bar Date for Filing Claims Filed by
       Bankruptcy Administrator Jon A Dudeck. (Dudeck, Jon)

       Date: Monday, May 20, 2019                       Time: 10:30 AM

         Location: Robert S. Vance Federal Bldg, 1800 5th Ave No, Courtroom 3, Birmingham, AL 35203
        Attorneys should attend all scheduled hearings. If a conflict is known, the Court should be notified
immediately. Continuances of non−evidentiary hearings may be granted if all parties consent. Evidentiary hearings
will not be continued except for good cause shown. If there is a failure to attend a scheduled hearing, and the Court
has not been notified of the reason for the failure, the Court may enter appropriate orders. Attendance is not required
if a settlement has been reached as approved by all parties and filed with the Court by an attorney prior to the hearing
date.

Dated: April 17, 2019                                        By:

                                                             Joseph E. Bulgarella, Clerk
                                                             United States Bankruptcy Court
klt




       Case 19-80272-TOM11                 Doc 45 Filed 04/17/19 Entered 04/17/19 09:09:53                 Desc
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